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P 2:17-cv-08937-DMG-FFM Document 57-15 Filed 03/29/19 Page 1of3 Page ID #:796

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Attorneys for Defendants CLOUD IMPERIUM GAMES CORP.
and ROBERTS SPACE INDUSTRIES CORP.

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CRYTEK GMBH, Case No. 2:17-CV-08937
Plaintiff, [HON. DOLLY M. GEE]
vs.
DECLARATION OF JAY

CLOUD IMPERIUM GAMES CORP. and GRENIER
ROBERTS SPACE INDUSTRIES CORP.,
Date: April 26, 2019
Defendants. Time: 9:30 AM
Courtroom: 8C

DECL. OF JAY GRENIER ISO DEFS.’ MOT. FOR A BOND PURSUANT TO CCP § 1030

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P 2:17-cv-08937-DMG-FFM Document 57-15 Filed 03/29/19 Page 2of3 Page ID #:797

I, Jay Grenier, declare as follows:

ls I am the Director of Product Development at Faceware Technologies, Inc.
(“Faceware”). I make this declaration on the basis of personal knowledge, except where
stated on information and belief.

2. Faceware produces software used to capture facial expressions and transfer
them onto animated characters. In or about 2017, Faceware began collaborating with
Cloud Imperium Games Corp. (“CIG”) to integrate Faceware’s technology into CIG’s
video game Star Citizen. From the beginning of Faceware’s collaboration with CIG
through the present, I supervised the work Faceware performed in connection with its
collaboration with CIG and was Faceware’s primary point of contact with CIG.

3, To the best of my knowledge, I was the recipient of all data, materials, and
other deliverables that CIG provided to Faceware over the course of our collaboration. I
was not provided by CIG, anyone connected to CIG, or any other party access to any of
CIG’s source code or any CryEngine source code. To the best of my knowledge, no one
else at Faceware was provided access to CIG’s source code or any CryEngine source
code.

4. The work flow between CIG and Faceware involved: (1) Faceware
delivering Faceware’s software development kit (“SDK”) and source code to CIG; (2)
CIG (not Faceware) integrating Faceware’s technology into CIG’s source code on CIG’s
own computers; (3) CIG compiling Faceware’s technology with CIG’s source code into a
playable “game build”; (4) CIG delivering the compiled, playable game build to
Faceware; (5) Faceware installing the compiled, playable game build on its own
computers; and (6) Faceware testing the Faceware features that CIG integrated into the
game. To be clear, the compiled, playable game builds that CIG delivered to Faceware

did not include access to CIG’s source code or any CryEngine source code.

DECL. OF JAY GRENIER ISO DEFS.” MOT. FOR A BOND PURSUANT TO CCP § 1030
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I declare under penalty of perjury that the foregoing is true and correct.
Executed on March 29, 2019 in Austin, Texas.

Ae -

YAY GRENIER

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